
551 P.2d 233 (1976)
LARSON FORD SALES, INC., Plaintiff and Respondent,
v.
J. Taylor SILVER, Defendant and Appellant.
No. 14391.
Supreme Court of Utah.
June 4, 1976.
Gordon F. Esplin, Salt Lake City, for defendant and appellant.
Richard B. Cuatto, Salt Lake City, for plaintiff and respondent.
MAUGHAN, Justice:
On appeal is a judgment of the district court dismissing an appeal from the small claims court. We affirm.
Defendant asks that 78-6-10, U.C.A. 1953, be declared unconstitutional. That section requires one appealing from a judgment in a small claims court to file the notice of appeal within five days from the entry of judgment.
Defendant claims denial of equal protection of the laws, because as an appellant from the small claims court he is allowed only five days within which to file his notice of appeal, whereas appeals from city and district court judgments may be made within one month. The small claims court is totally a creature of statute. Given its nature and purpose it is not unreasonable for the legislature to provide a different time for taking an appeal from the small claims court, from that provided for appeals from other courts. Defendant as an appellant from a small claims court has been given a reasonable time within which to take an appeal, and finds himself within a reasonable classification.
HENRIOD, C.J., and ELLETT, CROCKETT and TUCKETT, JJ., concur.
